          Case 2:19-bk-12014-WB                    Doc 15 Filed 03/13/19 Entered 03/13/19 12:52:24                                       Desc
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                                                                                                                 MAR 13 2019

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY kaaumoanDEPUTY CLERK




                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                      CASE NO.:      2:19-bk-12014-WB
 MURIEL JONES,                                                               CHAPTER:       13


                                                                             ORDER RE MOTION TO EXTEND DEADLINE
                                                                             TO FILE CASE COMMENCEMENT
                                                                             DOCUMENTS
                                                             Debtor(s).      Motion is docket entry # 13


On 3/11/19, the debtor filed a Motion to extend time to file case commencement documents (Motion). Having reviewed the Motion IT IS
ORDERED that:

   The Motion is GRANTED and the new deadline to file case commencement documents is 3/26/19. No additional requests for
extensions of time will be granted absent sufficient cause.

   The Motion is DENIED because (check all reasons that apply):

      The Motion does not contain an adequate explanation for why more time is needed to file the missing documents.
      The Motion is not supported by a declaration under penalty of perjury.
      The Motion was filed after deadline for filing missing document(s).
      There is no Proof of Service of the Motion on all creditors.
      Other:

   A hearing on the Motion is set for the following date, time and location:            Date:          Time:

   Courtroom #         Address of courthouse:
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                 Date: March 13, 2019




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 1, 2012                                                      Page 1                     F 1007-1.1.ORDER.FILING.DEADLINE
